    Case: 1:17-cv-07151 Document #: 50 Filed: 01/24/18 Page 1 of 1 PageID #:1325



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS

C O M M UN ITIE S UN ITE D ,C O M M UN ITY
RE N E W A L SO C IE TY , N E X T STE P S
N FP ,O N E N O RTH SID E ,and the A C L U
O F IL L IN O IS,on behalf of theirrespective
members,
                                                                      C ase N o.17 -cv-7 151
                                          P laintiffs,
                                                                     H on.E laine E .B u cklo
                        vs.

TH E C ITY O F C H IC A GO ,

                                       D efend ant.

                                           NOTICE OF FILING

        PLEASE TAKE NOTICE THAT, pu rsu antto the J              anu ary 23,20 18 ord erof H onorable
E laine E .B u cklo,D ocu mentN u mber 48 ,granting D efend ant’s M otion for L eave to File Its
M otion to D ismiss the A mend ed C omplaintIn E x cess of 15 P ages Instanter,we filed with the
United States D istrictC ou rtforthe N orthern D istrictof Illinois DEFENDANT’S MOTION TO
DISMISS THE AMENDED COMPLAINT,acopy of whichis served u pon you .

D ated :J
        anu ary 24,20 18                             Respectfu lly su bmitted ,

                                                     CITY OF CHICAGO

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